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                                          14                             UNITED STATES DISTRICT COURT
                                          15                            CENTRAL DISTRICT OF CALIFORNIA
                                          16                                     WESTERN DIVISION
                                          17 ALS SCAN, INC.,                               Case No.: 2:16-cv-05051-GW-AFM
                                          18                       Plaintiff,              NOTICE OF LODGING OF
                                                                                           CLOUDFLARE, INC’S
                                          19         v.                                    [PROPOSED] ORDER
                                          20 CLOUDFLARE, INC., et al.,                     Judge:     Hon. George H. Wu
                                                                                           Hearing:   June 18, 2018
                                          21                       Defendants.             Time:      8:30 a.m.
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                                               NOTICE OF LODGING                                      CASE NO. 2:16-CV-05051-GW-AFM
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                                          1          Defendant Cloudflare, Inc. hereby lodges the following document:
                                          2 [Proposed] Order on Cloudflare, Inc.’s Motion for Reconsideration.
                                          3
                                          4
                                          5 Dated: June 4, 2018                        FENWICK & WEST LLP
                                          6
                                          7                                      By:     /s/ Andrew P. Bridges
                                                                                       Andrew P. Bridges
                                          8                                            Attorneys for Defendant
                                          9                                            CLOUDFLARE, INC.

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                                               NOTICE OF LODGING                       1                CASE NO. 2:16-CV-05051-GW-AFM
